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4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                         )     In Chapter 7 Proceedings
                                    )
9    VALLEY HOSPICE OF ARIZONA, INC.)     Case No. 2:21-BK-08392-PS
                                    )
10                       Debtor.    )
                                    )
11
                      OBJECTION TO CLAIM NO. 12 (Martin Rubin)
12                            AND NOTICE OF BAR DATE

13              The trustee objects to Claim No. 12 filed by Martin Rubin

14   (“Rubin”).    The trustee's objection is more fully set forth in and is

15   supported by the following Memorandum Of Points And Authorities.

16              DATED January 24, 2023.

17                                   TERRY A. DAKE, LTD.

18                                   By /s/ TD009656
                                       Terry A. Dake
19                                     P.O. Box 26945
                                       Phoenix, Arizona 85068-6945
20                                     Attorney for Trustee

21                      MEMORANDUM OF POINTS AND AUTHORITIES

22              Claim 12 filed by Rubin asserts a claim for $42,000.00 with

23   $13,650.00 entitled to wage priority.

24              The claim appears to assert that some of the claim is for

25   salary that would have been earned after the case was filed.     But, the

26   debtor’s operations ceased prior to the filing date, so no salary could

27   be earned after operations ended.

28
1              Further, the Schedules filed by the debtor indicate that the
2    amount owed to Rubin is only $2,250.00. Thus, the claim is materially
3    higher than the amount reported by the debtor.          The claim does not
4    explain this discrepancy, and the claim does not provide any evidence
5    that additional amounts were earned and unpaid.       Further, if the salary
6    was not being paid in prior years, it is unclear why Rubin continued
7    to provide services.
8              For these reasons, the trustee objects to Claim No. 12 and
9    requests that it be allowed in the reduced amount of $2,250.00 to be
10   allowed and paid as a priority wage claim, with the remainder of the
11   claim disallowed unless and until Rubin provides additional information
12   and documentation to support the claim.
13             WHEREFORE, the     trustee prays   for   the entry   of   an order
14   allowing Claim No. 12 in the reduced amount of $2,250.00 to be paid as
15   a priority wage claim and the balance disallowed.
16             DATED January 24, 2023.
17                                    TERRY A. DAKE, LTD.
18                                    By /s/ TD009656
                                        Terry A. Dake
19                                      P.O. Box 26945
                                        Phoenix, Arizona 85068-6945
20                                      Attorney for Trustee
21                          NOTICE OF OBJECTION TO CLAIM
                               AND DEADLINE TO RESPOND
22
               The trustee has filed the above objection to the claim you
23   have filed in this bankruptcy case.
24             Your rights may be affected. You should read these papers
     carefully and discuss them with your attorney, if you have one in this
25   bankruptcy case.   If you do not have an attorney, you may wish to
     consult one.
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1              If you do not want the court to sustain the trustee’s
     objection to your claim and disallow your claim, or if you want the
2    court to consider your views on the trustee’s objection, then on or
     before February 16, 2023, you or your attorney must file with the Court
3    a written response requesting a hearing on the trustee’s objection.
4                         File your objection at:
5                         Clerk of the Court
                          United States Bankruptcy Court
6                         230 N. First Avenue
                          Ste. 101
7                         Phoenix, AZ 85003-1706
8              If you mail your response to the Court, you must mail it early
     enough so the Court will receive it on or before the date stated above.
9
               You must also mail a copy to the attorney for the trustee at:
10
                          Terry A. Dake, Esq.
11                        Terry A. Dake, Ltd.
                          P.O. Box 26945
12                        Phoenix, Arizona 85068-6945
13             If you or your attorney do not take these steps, the Court may
     decide that you do not oppose the trustee’s objection and may enter an
14   order that sustains the trustee’s objection and disallows your claim.
15   COPY mailed January 24, 2023 to:
16   Martin Rubin
     302 W. Crofton St.
17   Chandler, AZ 85225
18      /s/ TD009656
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